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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION


  UNITED STATES OF AMERICA,                    )
                                               )
                        Plaintiff,             )
                                               )
         v.                                    )      Cause No. 2:08CR2-PPS
                                               )
 STEFEN RICE,                                  )
                                               )
                        Defendant.             )


                                     OPINION AND ORDER


         On September 3, 2008, Stefen Rice pled guilty to two counts of bank robbery and one

 count charging the use of a firearm during and in relation to one of the bank robberies. [DE 141,

 143]. Rice was later sentenced to an aggregate prison term of 130 months, to be followed by a

 three-year term of supervised release. [DE 247]. The judgment also imposes a restitution

 obligation in the amount of $28,514.00, which Rice owes jointly and severally with specified co-

 defendants. [DE 247, pp. 6-7]. The judgment has this to say about when and how the restitution

 is to be paid:

         The restitution shall be paid in full immediately. If the defendant is not able to
         pay this amount immediately, then restitution shall be paid at a minimum rate of
         $50.00 per month commencing 30 days after placement on supervision until said
         amount is paid in full.

         The defendant shall make restitution payments from any wages earned in prison
         in accordance with the Bureau of Prisons Financial Responsibility Program. Any
         portion of the restitution that is not paid in full at the time of the defendant’s
         release from imprisonment shall become a condition of supervision.

 Id. at 7.
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        I have received a letter from Stefen Rice, writing from FCI Terre Haute, indicating that

 his prison account is being hard-hit by payments toward his restitution. Rice asks me to order

 that he does not need to make restitution payments until he gets out of prison. Such payments

 are provided for in the judgment, to begin 30 days after Rice is released from prison and starts

 his term of supervised release. Apparently, prison authorities are acting on the basis of the next

 sentence of the judgment, the provision for restitution payments being taken from prison wages

 in accordance with the Bureau of Prisons’ Inmate Financial Responsibility Program.

        The authority of sentencing courts to amend a sentence previously imposed is very

 limited. But in this instance, I find two bases for modifying the judgment to delete the

 requirement of restitution payments being made from any prison wages via the IFRP. First, 18

 U.S.C. §3664(k) authorizes a sentencing court to adjust a restitution payment schedule when the

 court is notified of a material change in a defendant’s economic circumstances, “as the interests

 of justice require.” Second, the judgment’s inclusion of the requirement of payments from any

 prison wages pursuant to the IFRP was plain error, as explained in subsequent decisions of the

 Seventh Circuit Court of Appeals.

        Federal inmates’ participation in the Inmate Financial Responsibility Program is

 voluntary: “an inmate in the Bureau of Prisons’ custody may lose certain privileges by not

 participating in the IFRP, but the inmate’s participation cannot be compelled.” United States v.

 Boyd, 608 F.3d 331, 334 (7th Cir. 2010). The Seventh Circuit therefore found a judgment

 requiring participation to be erroneous:

        The court overstepped its bounds when it ordered [defendant] to participate in the
        IFRP. We conclude that this error was plain. That term of the judgment cannot
        be enforced as written, and the Bureau of Prisons cannot look to it as authority for
        compelling [defendant] to participate in the IFRP. [Defendant’s] participation,

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        like that of all imprisoned defendants, must remain voluntary, though subject to
        the loss of privileges identified in 28 C.F.R. §545.11(d).

 Id. at 335. See also United States v. Ramirez,        F.3d   , 2011 WL 2864417, *10 (7th Cir.

 July 20, 2011); United States v. Munoz, 510 F.3d 989, 997 (7th Cir. 2010). I now realize I erred

 in including the provision about wage payments under the IFRP in Rice’s judgment. And on the

 strength of Rice’s letter, I conclude that his limited financial resources while in prison do not

 reasonably support a requirement of monthly payments toward restitution while he is

 incarcerated.

        ACCORDINGLY:

        Stefen Rice’s letter filed August 31, 2011 is construed as a motion for modification of the

 restitution payment schedule [Doc. #358] and is GRANTED pursuant to 18 U.S.C. §3664(k).

 Stefen Rice is not required to make payments toward his restitution obligation while imprisoned,

 and minimum monthly payments are required to commence 30 days after his placement on

 supervision, as provided for in the Judgment dated February 12, 2009 [DE 247].

        In addition to the copy to be served upon defendant Stefen Rice, the Clerk shall provide a

 copy of this order to the Warden of the Bureau of Prisons institution where Stefen Rice is

 currently incarcerated.

        SO ORDERED.

        ENTERED: September 12, 2011

                                               s/ Philip P. Simon
                                               CHIEF JUDGE
                                               UNITED STATES DISTRICT COURT




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